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                                                   Objection Deadline: January 23, 2024


BURNS BAIR LLP
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Jesse J. Bair, Esq. (admitted pro hac vice)
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Madison, WI 53703-3392
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Email: jbair@burnsbair.com
Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


      THIRTY-SEVENTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
     AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
          AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
              NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

 Name of Applicant:                              Burns Bair LLP

 Authorized to Provide Professional              Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                              Effective October 29, 2020 pursuant to Order
                                                 dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                 November 1, 2023 – November 30, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,        $49,421.00
 reasonable, and necessary:                      50% of which is $24,710.50
 Amount of Expense Reimbursement sought
                                                 $0
 as actual, reasonable, and necessary:
 TOTAL (50% of fees and 100% of costs)           $24,710.50

This is the thirty-seventh monthly fee statement.
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                                PRELIMINARY STATEMENT

       Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this thirty-seventh monthly statement (the “Monthly

Statement”) for the period from November 1, 2023 through November 30, 2023 (the “Statement

Period”) for payment of professional services rendered and reimbursement of expenses incurred

during the Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket

No. 129] (the “Interim Compensation Order”). Burns Bair requests interim allowance and

payment of compensation in the amount of $24,710.50 (50% of $49,421.00) for fees on account

of reasonable and necessary professional services rendered to the Committee by Burns Bair.

       FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

       1.       Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                             Total
                                         Year of       Year of     Hourly                 Total
         Name                Title                                           Hours
                                       Partnership    Admission     Rate               Compensation
                                                                             Billed
Timothy Burns               Partner       2008          1991       $975.00   23.30       $22,717.50
Jesse Bair                  Partner       2020          2013       $625.00   32.30       $20,187.50
Brian Cawley               Associate      N/A           2020       $420.00    6.20        $2,604.00
Nathan Kuenzi              Associate      N/A           2020       $420.00    5.80        $2,436.00
Brenda Horn-Edwards        Paralegal      N/A           N/A        $360.00    4.10        $1,476.00
                                                                  TOTAL:     71.70       $49,421.00

       2.       The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.




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A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

                             NOTICE AND OBJECTION PROCEDURES

       3.      No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.

       4.      Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by January 23, 2024 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

       5.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 50% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To

the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.




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Dated: January 8, 2024                 BURNS BAIR LLP

                                        /s/ Timothy W. Burns                       .




                                       Timothy W. Burns, Esq. (admitted pro hac vice)
                                       Jesse J. Bair, Esq. (admitted pro hac vice)
                                       10 E. Doty St., Suite 600
                                       Madison, WI 53703-3392
                                       Telephone: (608) 286-2808
                                       Email: tburns@burnsbair.com
                                       Email: jbair@burnsbair.com

                                       Special Insurance Counsel to the Official
                                       Committee of Unsecured Creditors of The Roman
                                       Catholic Diocese of Rockville Centre, New York




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                                  EXHIBIT A
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                                       10 E. Doty St., Suite 600
                                     Madison, Wisconsin 53703-3392
                                             608-286-2302
                                          www.BurnsBair.com

The Official Committee of Unsecured Creditors                            Issue Date :      12/21/2023
of The Roman Catholic Diocese of Rockville
Centre                                                                         Bill # :        01298



Matter: Insurance

                            PROFESSIONAL SERVICES RENDERED


Date      Timekeeper            Narrative                                          Hours     Amount
11/1/2023 Brian Cawley          Continue analyzing Arrowood policies for            0.60     $252.00
                                aggregate limits, if any, applicable to CVA
                                claims (.6);
11/1/2023   Jesse Bair          Participate in call with J. Stang and T. Burns re 0.40        $250.00
                                status hearing outcome, test cases, and case
                                next-steps (.4);
11/1/2023   Timothy Burns       Participate in call with state court counsel re     2.40    $2,340.00
                                test cases (.2); participate in conference with T.
                                Burns re outcome of Oct. 31 Committee
                                meeting and preparations for Nov. 1 status
                                conference (.3); attend November 1 status
                                hearing in main case (1.1); participate in
                                hearing debrief with J. Bair re outcome of
                                same (.1); participate in call with state court
                                counsel re same (.2); review state court
                                counsel correspondence re test cases (.1);
                                participate in call with J. Stang and J. Bair re
                                status hearing outcome, test cases, and case
                                next-steps (.4);
11/1/2023   Jesse Bair          Supplemental analysis re potential, additional      0.30      $187.50
                                test cases (.3);
11/1/2023   Jesse Bair          Review and consider additional                      0.10       $62.50
                                correspondence with state court counsel re test
                                case issues (.1);
11/1/2023   Jesse Bair          Attend portion of November 1 status hearing         0.30      $187.50
                                (.2); participate in conference with T. Burns re
                                outcome of status hearing (.1);
11/1/2023   Brenda Horn-Edwards Draft Burns Bair ninth interim fee application      2.70      $972.00
                                (1.6); revise declaration of T. Burns (.2); draft
                                exhibits for interim fee application (.8);
                                correspond with J. Bair re same (.1);
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11/1/2023 Jesse Bair         Participate in conference with T. Burns re           0.30    $187.50
                             outcome of Committee meeting and
                             preparations for Nov. 1 status conference (.3);
11/1/2023 Jesse Bair         Participate in call with state court counsel re      0.30    $187.50
                             test cases issues and next -steps (.3);
11/2/2023 Jesse Bair         Analysis re additional, potential test cases (.3);   0.60    $375.00
                             review and respond to correspondence with
                             state court counsel re same (.3);
11/2/2023 Jesse Bair         Participate in conference with PSZJ re Plan          0.50    $312.50
                             issues, case strategy, and next-steps (.5);
11/3/2023 Timothy Burns      Participate in call with J. Stang and state court    0.60    $585.00
                             counsel re test cases (.5); conference with J.
                             Bair re test case issues (.1);
11/3/2023 Jesse Bair         Conference with T. Burns re test case issues         0.10     $62.50
                             (.1);
11/3/2023 Brian Cawley       Additional analysis re Arrowood policies for         0.70    $294.00
                             aggregate limits, if any, applicable to CVA
                             claims (.7);
11/3/2023 Jesse Bair         Correspondence with K. Dine re state court           0.10     $62.50
                             counsel meeting and test case issues (.1);
11/6/2023 Jesse Bair         Prepare for additional call with state court         0.60    $375.00
                             counsel re test cases issues (.1); participate in
                             call with state court counsel re same (.5);
11/6/2023 Jesse Bair         Participate in call with state court counsel re      0.10     $62.50
                             potential test cases (.1);
11/6/2023 Jesse Bair         Supplemental analysis re additional potential        0.50    $312.50
                             test cases (.3); correspondence with state
                             court counsel re same (.2);
11/7/2023 Jesse Bair         Continued analysis re potential test cases (.4);     0.90    $562.50
                             review and respond to numerous
                             correspondence with state court counsel re
                             same (.5);
11/7/2023 Jesse Bair         Provide instructions to N. Kuenzi re analysis        0.10     $62.50
                             needed re Guarantee Fund issues in
                             connection with potential test cases (.1);
11/7/2023 Brian Cawley       Correspondence with J. Bair re potential test        0.10     $42.00
                             case (.1);
11/7/2023 Jesse Bair         Participate in call with state court counsel and     0.30    $187.50
                             PSZJ re test case strategy (.3);
11/7/2023 Jesse Bair         Participate in conference with T. Burns re           0.20    $125.00
                             potential test cases and related insurance
                             issues (.2);
11/7/2023 Timothy Burns      Participate in conference with J. Bair re            0.20    $195.00
                             potential test cases and related insurance
                             issues (.2);
11/8/2023 Jesse Bair         Review J. Stang memorandum re potential              0.10     $62.50
                             revised Plan structure (.1);
11/8/2023 Jesse Bair         Correspondence with state court counsel re           0.10     $62.50
                             test case issues (.1);
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11/8/2023 Nathan Kuenzi      Draft summary of issues relating to                0.40    $168.00
                             commencement of Article 74 liquidation
                             proceedings (.4);
11/8/2023 Jesse Bair         Correspond with I. Nasatir re research results     0.10     $62.50
                             re Guarantee Fund question in connection with
                             potential test cases (.1);
11/8/2023 Nathan Kuenzi      Draft analysis on issue of whether UILA and        0.40    $168.00
                             New York law will enforce the Delaware court
                             order staying litigation involving Arrowood
                             insureds (.4);
11/8/2023 Nathan Kuenzi      Participate in discussion with T. Burns re         0.40    $168.00
                             Arrowood liquidation and supplemental
                             research needed in connection with same (.4);
11/8/2023 Nathan Kuenzi      Draft analysis of stay imposed by Delaware         0.30    $126.00
                             Chancery Court (.3);
11/8/2023 Timothy Burns      Prepare for meeting with PSZJ re Plan issues       3.40   $3,315.00
                             and test case proposal (.1); participate in
                             conference with PSZJ and J. Bair re same (.9);
                             preliminary analysis re Arrowood liquidation
                             issues (.4); participate in meeting with N.
                             Kuenzi re supplemental research needed in
                             connection with same (.4); participate in calls
                             with state court counsel re same (.4);
                             participate in call with J. Stang re same (.3);
                             review and analyze Arrowood liquidation order
                             and related materials (.9);
11/8/2023 Nathan Kuenzi      Analyze Delaware Chancery Court liquidation        1.20    $504.00
                             order, issues involving guaranty funds, and
                             reciprocity between states regarding UILA in
                             connection with Arrowood (1.2);
11/8/2023 Jesse Bair         Prepare for meeting with PSZJ re Plan issues       1.00    $625.00
                             and test case proposal (.1); participate in
                             conference with PSZJ and T. Burns re same
                             (.9);
11/8/2023 Brian Cawley       Preliminary consideration of test case issues in   0.10     $42.00
                             light of Arrowood liquidation (.1);
11/8/2023 Jesse Bair         Review the Arrowood liquidation order (.2);        0.60    $375.00
                             preliminary analysis re case issues in
                             connection with same (.2); participate in call
                             with T. Burns re same (.1); review T. Burns
                             email memorandum re same (.1);
11/9/2023 Jesse Bair         Participate in conference with T. Burns re         0.40    $250.00
                             Arrowood liquidation and test case impact of
                             same (.4);
11/9/2023 Jesse Bair         Participate in additional call with state court    0.30    $187.50
                             counsel re Arrowood liquidation and impact on
                             case (.3);
11/9/2023 Nathan Kuenzi      Research issues relating to New York guaranty      0.60    $252.00
                             fund in light of Arrowood insolvency (.6);
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11/9/2023 Nathan Kuenzi       Participate in discussion with T. Burns re         0.20     $84.00
                              pending issues in Arrowood liquidation and
                              ongoing projects re same (.2);
11/9/2023 Jesse Bair          Participate in additional conference with T.       0.10     $62.50
                              Burns re impact of Arrowood liquidation order
                              (.1);
11/9/2023 Jesse Bair          Review and respond to various                      0.30    $187.50
                              correspondence with state court counsel re
                              Arrowood liquidation and test case plan (.3);
11/9/2023 Jesse Bair          Participate in call with state court counsel re    0.40    $250.00
                              Arrowood liquidation and test case issues (.4);
11/9/2023 Jesse Bair          Additional analysis of test case issues in light   0.70    $437.50
                              of Arrowood liquidation and stay of
                              proceedings (.7);
11/9/2023 Jesse Bair          Review correspondence from the mediators re        0.10     $62.50
                              Arrowood liquidation (.1);
11/9/2023 Timothy Burns       Conference with J. Bair re Arrowood                2.30   $2,242.50
                              liquidation and test case impact of same (.4);
                              participate in call with state court counsel re
                              Arrowood issues (.2); follow-up meeting with J.
                              Bair re same (.1); participate in call with PSZJ
                              re Arrowood and test cases (.7); review
                              correspondence with J. Bair and state court
                              counsel re test cases (.2); review article re
                              Arrowood liquidation (.1); review
                              correspondence from the mediators re
                              Arrowood liquidation (.1); continued analysis re
                              case insurance strategy in light of Arrowood
                              developments (.3); participate in conference
                              with N. Kuenzi re pending issues in Arrowood
                              liquidation and ongoing projects re same (.2);
11/9/2023 Jesse Bair          Participate in meeting with PSZJ and T. Burns      0.70    $437.50
                              re Arrowood liquidation, impact on bankruptcy
                              case, and test case issues (.7);
11/10/2023 Jesse Bair         Correspondence with particular state court         0.10     $62.50
                              counsel re test case issues (.1);
11/10/2023 Jesse Bair         Participate in state court counsel meeting for     1.70   $1,062.50
                              insurance purposes re Arrowood
                              developments, test cases, and related issues
                              (1.2); participate in post-meeting call with
                              PSZJ re outcome of state court counsel
                              meeting and next-steps re same (.3);
                              participate in conference with T. Burns re
                              insurance and test case strategy (.2);
11/10/2023 Nathan Kuenzi      Continue researching issues relating to            1.50    $630.00
                              guaranty fund recovery in New York in
                              connection with Arrowood and draft email
                              memorandum re same (1.5);
11/10/2023 Jesse Bair         Finalize correspondence to state court counsel     0.20    $125.00
                              group re Arrowood developments and
                              upcoming state court counsel meeting (.2);
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11/10/2023 Timothy Burns       Participate in state court counsel meeting for       1.60   $1,560.00
                               insurance purposes re Arrowood
                               developments, test cases, and related issues
                               (1.2); supplemental call with state court counsel
                               re same (.2); participate in conference with J.
                               Bair re insurance and test case strategy (.2);
11/12/2023 Jesse Bair          Review draft correspondence to the                   0.30    $187.50
                               Committee re Arrowood developments (.1);
                               participate in conference with T. Burns re same
                               (.2);
11/12/2023 Jesse Bair          Review and edit current version of the               0.80    $500.00
                               Committee's suspension and test case motion
                               (.8);
11/12/2023 Timothy Burns       Review proposed correspondence re                    1.20   $1,170.00
                               Arrowood to the Committee and state court
                               counsel (.2); met with J. Bair re same (.2);
                               review and revise current draft of the
                               Committee's test case and suspension motion
                               (.8);
11/12/2023 Jesse Bair          Review draft Committee correspondence to             0.10     $62.50
                               the mediators re Arrowood developments (.1);
11/12/2023 Jesse Bair          Review the Diocese's letter to Judge                 0.10     $62.50
                               Steinmann re Arrowood issues (.1);
11/12/2023 Jesse Bair          Review and edit BB's interim fee application         0.70    $437.50
                               (.7);
11/13/2023 Timothy Burns       Conference with J. Bair re test cases and Plan       1.00    $975.00
                               strategy (.2); attend part of call with PSZJ and
                               J. Bair re potential Plan structure (.8);
11/13/2023 Jesse Bair          Correspondence with B. Michael re test case          0.30    $187.50
                               status and next-steps (.1); additional
                               correspondence with state court counsel re
                               same (.2);
11/13/2023 Jesse Bair          Additional analysis re potential test cases and      1.20    $750.00
                               related insurance issues (.8); review and
                               respond to correspondence with state court
                               counsel re same (.4);
11/13/2023 Jesse Bair          Review J. Stang memo re revised potential            1.20    $750.00
                               Plan structure (.2); participate in call with PSZJ
                               and T. Burns re same (1.0);
11/13/2023 Brenda Horn-Edwards Review and revise ninth interim fee application      0.50    $180.00
                               (.4); correspond with J. Bair re same (.1);
11/13/2023 Jesse Bair          Review correspondence with K. Dine, the              0.10     $62.50
                               Committee, and state court counsel re
                               Arrowood developments (.1);
11/13/2023 Jesse Bair          Review, edit, and finalize BB's ninth interim fee    0.70    $437.50
                               application (.7);
11/13/2023 Jesse Bair          Correspondence with the Debtor re upcoming           0.10     $62.50
                               meet and confer with Arrowood (.1);
11/13/2023 Jesse Bair          Conference with T. Burns re test cases and           0.20    $125.00
                               Plan strategy (.2);
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11/14/2023 Jesse Bair          Review correspondence with LMI and the             0.10     $62.50
                               Debtor re LMI's subpoenas (.1);
11/14/2023 Jesse Bair          Additional analysis re potential test case and     0.30    $187.50
                               related issues (.2); correspondence with state
                               court counsel re same (.1);
11/14/2023 Brenda Horn-Edwards Edit ninth interim fee application (.1);           0.10     $36.00
11/14/2023 Jesse Bair          Provide instructions to B. Cawley re additional    0.30    $187.50
                               analysis needed re potential LMI/Interstate test
                               cases (.3);
11/14/2023 Jesse Bair          Review and respond to correspondence with          0.50    $312.50
                               PSZJ re test case issues and state court
                               counsel meeting re same (.3); participate in
                               conference with T. Burns re same (.2);
11/14/2023 Brian Cawley        Conduct additional analysis of potential           3.00   $1,260.00
                               LMI/Interstate test cases and draft summary re
                               same (2.8); correspond with J. Bair re same
                               (.2);
11/14/2023 Jesse Bair          Review monthly Diocesan PSIP information           0.10     $62.50
                               (.1);
11/14/2023 Timothy Burns       Met with J. Bair re test cases and state court     0.60    $585.00
                               counsel meeting re same (.2); participate in
                               call with state court counsel re same (.1);
                               review correspondence re Diocese's CVA files
                               (.1); review correspondence with J. Bair and
                               PSZJ re test cases (.1); additional analysis re
                               Arrowood liquidation issues (.1);
11/15/2023 Jesse Bair          Participate in call with state court counsel re    0.30    $187.50
                               test case issues and strategy (.3);
11/15/2023 Jesse Bair          Call with T. Burns re developments re test         0.20    $125.00
                               cases (.2);
11/15/2023 Jesse Bair          Review J. Stang correspondence with the            0.10     $62.50
                               Debtor re settlement discussions (.1);
11/15/2023 Timothy Burns       Call with J. Bair re developments re test cases    1.40   $1,365.00
                               (.2); review correspondence and draft letter to
                               court re Arrowood developments (.2); review
                               correspondence with J. Bair and B. Cawley re
                               test case issues (.1); review correspondence
                               from state court counsel re test cases (.1);
                               review correspondence from state court
                               counsel to the Debtor re protective order
                               issues (.3); review correspondence from state
                               court counsel re case resolution issues (.2);
                               review correspondence from K. Dine re
                               dispute with debtor re NDAs and state court
                               litigation (.1); review N. Kuenzi's supplemental
                               memo re Arrowood guarantee fund issues (.2);
11/15/2023 Jesse Bair          Participate in call with different state court     0.20    $125.00
                               counsel re test case issues and strategy (.2);
11/15/2023 Jesse Bair          Review the Debtor's letter and accompanying        0.40    $250.00
                               exhibits re use of CVA materials (.2); review
                               state court counsel response to same (.2);
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11/15/2023 Jesse Bair         Additional analysis re test case issues and         0.40    $250.00
                              strategy (.2); correspondence with state court
                              counsel re same (.2);
11/15/2023 Nathan Kuenzi      Conduct follow-up research re issues relating       0.80    $336.00
                              to insurance guaranty fund recovery in New
                              York in connection with Arrowood (.8);
11/16/2023 Jesse Bair         Review draft joint letter to Judge Cave re the      0.20    $125.00
                              Arrowood liquidation Order (.1);
                              correspondence with Arrowood and the
                              Diocese re same (.1);
11/16/2023 Timothy Burns      Participate in call with J. Bair and state court    2.00   $1,950.00
                              counsel re test case issues and strategy (.7);
                              review and revise current version of the
                              Committee's test case and suspension motion
                              (1.1); correspondence with PSZJ re same (.1);
                              review order from J. Schofield re status letter
                              (.1);
11/16/2023 Jesse Bair         Prepare for call with certain state court counsel   0.80    $500.00
                              re test case issues and strategy (.1);
                              participate in call with certain state court
                              counsel re same (.7);
11/16/2023 Jesse Bair         Review and edit revised version of the              1.50    $937.50
                              Committee's suspension and test case motion
                              (1.3); correspondence with PSZJ re same (.2);
11/16/2023 Jesse Bair         Review additional correspondence with state         0.10     $62.50
                              court counsel re test case issues and strategy
                              (.1);
11/17/2023 Jesse Bair         Review the Committee's dispute notice re CVA        0.10     $62.50
                              materials under the case protective order (.1);
11/17/2023 Jesse Bair         Review correspondence with state court              0.10     $62.50
                              counsel re test case issues and related
                              strategy (.1);
11/17/2023 Jesse Bair         Participate in call with state court counsel re     0.20    $125.00
                              test case insurance issues (.2);
11/17/2023 Jesse Bair         Review Order staying the Arrowood district          0.10     $62.50
                              court action (.1);
11/18/2023 Timothy Burns      Review correspondence with PSZJ and state           0.80    $780.00
                              court counsel re test case call (.2); review
                              correspondence from state court counsel and
                              the Debtor re settlement issues (.2); review and
                              revise latest iterations of the Committee's test
                              case and suspension motion (.4);
11/18/2023 Jesse Bair         Review B. Michael correspondence re state           0.10     $62.50
                              court counsel meeting to discuss test case
                              issues and strategy (.1);
11/19/2023 Jesse Bair         Review and edit revised version of suspension       0.70    $437.50
                              / test case motion (.4); review and edit further
                              revised version of suspension /test case
                              motion (.2); correspondence with T. Burns and
                              PSZJ re same (.1);
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11/20/2023 Timothy Burns       Review correspondence from the Debtor re            0.10     $97.50
                               settlement/dismissal issues (.1);
11/20/2023 Jesse Bair          Review final version of the Committee's test        0.30    $187.50
                               case / suspension motion (.2); correspondence
                               with PSZJ re same (.1);
11/20/2023 Timothy Burns       Conference with J. Bair re case status and test     0.10     $97.50
                               case motion (.1);
11/20/2023 Timothy Burns       Participate in state court counsel meeting for      1.00    $975.00
                               insurance purposes re test case issues (.8);
                               participate in post-meeting call with PSZJ and
                               J. Bair re outcome of same and next-steps (.2);
11/20/2023 Jesse Bair          Conference with T. Burns re case status and         0.10     $62.50
                               test case motion (.1)
11/20/2023 Jesse Bair          Participate in state court counsel meeting for      1.00    $625.00
                               insurance purposes re test case issues (.8);
                               participate in post-meeting call with PSZJ and
                               T. Burns re outcome of same and next-steps
                               (.2);
11/20/2023 Jesse Bair          Review the Debtor's letter to state court           0.10     $62.50
                               counsel re settlement and dismissal issues
                               (.1);
11/21/2023 Jesse Bair          Conference with T. Burns re settlement              0.10     $62.50
                               developments (.1);
11/21/2023 Jesse Bair          Review the Debtor's letter to Judge Steinman        0.20    $125.00
                               re the Committee's test case motion and state
                               court actions (.1); review correspondence with
                               state court counsel re same (.1);
11/21/2023 Timothy Burns       Conference with J. Bair re settlement               0.10     $97.50
                               developments (.1);
11/22/2023 Jesse Bair          Review and assess upcoming case insurance           0.10     $62.50
                               deadlines and projects (.1);
11/25/2023 Timothy Burns       Review remand decision re state court actions       0.50    $487.50
                               (.1); review related correspondence re same
                               (.1); review joint update letter to Judge
                               Schofield (.1); review the Committee and
                               Debtor's correspondence to Judge Steinman
                               re test cases (.1); review letter from the Debtor
                               to Judge Oetken re Arrowood stay (.1);
11/26/2023 Brenda Horn-Edwards Draft Burns Bair monthly fee statement (.6);        0.80    $288.00
                               generate and edit Exhibit A to same (.1);
                               correspond with J. Bair re same (.1);
11/27/2023 Jesse Bair          Review Judge Oetken's order re POC appeals          0.20    $125.00
                               and impact of Arrowood liquidation (.1); further
                               analysis re scope of Arrowood litigation stay
                               (.1);
11/27/2023 Timothy Burns       Review agenda for Nov. 28 hearing (.1);             0.40    $390.00
                               correspond with B. Cawley re assignment re
                               same (.1); met with J. Bair re Arrowood aspect
                               of status hearing (.1); follow-up
                               correspondence re same (.1);
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11/27/2023 Jesse Bair         Review agenda for upcoming status                   0.20    $125.00
                              conference (.1); review K. Dine
                              correspondence re same (.1);
11/27/2023 Jesse Bair         Prepare for upcoming case status conference         0.80    $500.00
                              with particular focus on Arrowood issues (.7);
                              participate in conference with T. Burns re same
                              (.1);
11/27/2023 Brian Cawley       Analyze and identify key materials for Nov. 28      0.50    $210.00
                              hearing prep re Arrowood issues (.5);
11/27/2023 Jesse Bair         Review the parties' letter to Judge Schofield re    0.10     $62.50
                              bankruptcy case developments (.1);
11/27/2023 Jesse Bair         Review the Debtor's letter to Judge Glenn re        0.20    $125.00
                              upcoming status conference and related
                              exhibits to same (.2);
11/27/2023 Jesse Bair         Correspondence with PSZJ re disclosure              0.10     $62.50
                              statement hearing date (.1);
11/28/2023 Jesse Bair         Analyze insurance demand letter issues (.2);        0.40    $250.00
                              edit and revise T. Burns correspondence to
                              state court counsel re same (.2);
11/28/2023 Brian Cawley       Review correspondence from T. Burns re              0.10     $42.00
                              insurance demand letter strategy (.1);
11/28/2023 Jesse Bair         Correspondence with PSZJ re revised                 0.10     $62.50
                              disclosure hearing date (.1);
11/28/2023 Jesse Bair         Participate in case status hearing for insurance    1.60   $1,000.00
                              purposes (1.6);
11/28/2023 Jesse Bair         Brief review re the Debtor's Plan and               0.10     $62.50
                              Disclosure Statement (.1);
11/28/2023 Jesse Bair         Continue preparing for insurance aspects of         0.10     $62.50
                              upcoming status conference (.1);
11/28/2023 Jesse Bair         Correspondence with state court counsel re          0.10     $62.50
                              finalization of insurance demand letters (.1);
11/28/2023 Jesse Bair         Participate in call with T. Burns re outcome of     0.20    $125.00
                              status conference and insurance next-steps
                              (.2);
11/28/2023 Jesse Bair         Correspondence with B. Cawley re current            0.10     $62.50
                              version of insurance demand letters (.1);
11/28/2023 Brian Cawley       Review latest version of insurance demand           0.40    $168.00
                              letters (.2); correspondence with J. Bair re
                              same (.2);
11/28/2023 Timothy Burns      Attended Nov. 28 case status hearing (1.6);         3.50   $3,412.50
                              prepare memo to state court counsel re same
                              and demand letters (.8); correspondence with
                              BB team re same (.2); participate in call with J.
                              Bair re status conference hearing outcome and
                              insurance next steps (.2); revise and finalize
                              memo to state court counsel re hearing
                              outcome and demand letter issues (.3);
                              participate in call with J. Stang re same (.2);
                              additional correspondence with state court
                              counsel re same (.2);
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11/29/2023 Jesse Bair         Correspondence with particular state court           0.20      $125.00
                              counsel re finalization of insurance demand
                              letters (.1); participate in call with state court
                              counsel re same (.1);
11/29/2023 Brian Cawley       Review and revise insurance demand letters to        0.70      $294.00
                              incorporate partner edits (.5); correspondence
                              with J. Bair re same (.2);
11/29/2023 Timothy Burns      Review correspondence with J. Bair and state         0.10        $97.50
                              court counsel re insurance demands (.1);
11/29/2023 Jesse Bair         Review and respond to correspondence with            0.50      $312.50
                              various state court counsel re insurance
                              demand letters (.5);
11/29/2023 Jesse Bair         Correspondence with B. Cawley re additional          0.10        $62.50
                              edit to certain insurance demand letters (.1);
11/30/2023 Jesse Bair         Participate in call with state court counsel re      0.10        $62.50
                              insurance demand letters (.1);
Total Hours and Fees                                                               71.70   $49,421.00


                                  Timekeeper Summary
Name                            Title                    Hours             Rate              Amount
Brenda Horn-Edwards             Paralegal                  4.10         $360.00             $1,476.00
Brian Cawley                    Associate                  6.20         $420.00             $2,604.00
Jesse Bair                      Partner                   32.30         $625.00            $20,187.50
Nathan Kuenzi                   Associate                  5.80         $420.00             $2,436.00
Timothy Burns                   Partner                   23.30         $975.00            $22,717.50



                                                               Total Due This Invoice: $49,421.00
